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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                             WESTERN DIVISION

UNITED STATES OF AMERICA                )
                                        )      No. 06 CR 763
         v.                             )
                                        )      Judge Edmond E. Chang
CHARLES WHITE                           )

        GOVERNMENT’S RESPONSE TO DEFENDANT’S MOTION FOR
                    COMPASSIONATE RELEASE

         The UNITED STATES OF AMERICA, by its attorney, JOHN R. LAUSCH, JR.,

United States Attorney for the Northern District of Illinois, hereby submits its

response to defendant CHARLES WHITE’s motion for compassionate release. R. 485.

As discussed below, defendant has failed to establish that he meets the requirements

for relief under § 3582(c)(1), and his motion should be denied.

I.       BACKGROUND

         A.    Offense Conduct and Procedural History

         On March 23, 2010, defendant was charged by a superseding indictment with

seven counts of wire fraud, in violation of 18 U.S.C. § 1343. R. 195. Evidence

presented at the five week trial—including bank, real estate and bankruptcy court

records and testimony of victims, straw purchasers and other insiders—showed that

Charles White orchestrated a large-scale wire fraud scheme in the Chicago area

during 2004 and 2005, in which, co-defendants Norton Helton (an attorney) and

Felicia Ford (a title closer) participated in. Through the guise of a mortgage bailout

program, defendants defrauded insolvent homeowners desperately seeking to save

their homes from foreclosure, and defrauded mortgage lenders that, as a result of the
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scheme, provided financing for straw purchasers in fraudulent real estate sales of

these homes. As part of the fraudulent bailout scheme, White and Helton also

directed certain homeowners to file for bankruptcy, and, thereafter, to protect the

fraudulent bailout scheme and its profits to defendants, Helton engaged in efforts to

conceal the fraudulent real estate transactions from the bankruptcy debtors’

creditors.

      More specifically, defendant designed and managed the alleged “mortgage

bailout” program through his purported real estate management company, Eyes

Have Not Seen (“EHNS”). EHNS purported to offer insolvent homeowners a program

designed to prevent them from losing their homes in foreclosure. EHNS implemented

this “program” through systemic mortgage fraud. In particular, the defendants

fraudulently obtained mortgage financing by submitting and causing to be submitted

to mortgage lenders, false and fraudulent mortgage loan applications. By way of

example, Charles White prepared loan applications that fraudulently misrepresented

that buyers intended to occupy the property to be purchased, when, in truth and in

fact, he knew that to be false. White also prepared loan applications that fraudulently

represented purchasers’ employment history and assets. He caused fictitious and

fraudulent verifications of deposit, rent and employment forms to be prepared and

submitted to lenders. Finally, White purchased cashier’s checks bearing purchasers’

names to be fraudulently submitted as their own down payment contributions.

White’s in house title company settlement agent, defendant Felicia Ford, facilitated

this fraud by accepted cashier’s checks provided by White as purchasers’ down


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payments despite knowing the true origin of the checks. Ford further presented real

estate closing documents to lenders, including White’s cashier’s checks,that

fraudulently represented that the purchasers had provided those down payments.

Defendant Norton Helton was retained by White to appear at EHNS’s real estate

closings, theoretically to represent program participants. In reality, Helton only acted

to facilitate the fraudulent sales orchestrated by White. Helton not only participated

in the operation of EHNS’s mortgage bailout program, he created Diamond

Management of Chicago, Inc. (“Diamond”) to implement his own, comparable

foreclosure avoidance program. Using their mortgage bailout programs as cover,

White and Helton stripped available equity from clients’ homes at the time of sale.

      The defendant proceeded to trial on June 7, 2010. R. 268. After nearly five

weeks, on July 9, 2020, the jury returned a verdict finding defendant guilty of all of

the charges alleged against him. Id. On September 28, 2011, Judge Samuel Der-

Yeghiayan sentenced defendant to a term of imprisonment of 266 months. R. 338.

Defendant filed post-trial motions for a new trial, which the court denied. See R. 279,

315, 322.

      Defendant appealed his sentence. The Seventh Circuit affirmed. See United

States v. White, 737 F.3d 1121 (7th Cir. 2013).

      On or about July 6, 2020, defendant filed a pro se motion to appoint attorney

“to fully brief this Court” with respect to a motion for compassionate release. R. 485.

On or about July 28, 2020, this Court denied defendant’s motion without prejudice as

to appointment of counsel and held that, under General Order 20−0016, the Federal


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Defender Program may advise the Defendant if the Program deems it appropriate.

DRkt. 488. This Court also converted the motion to a motion for compassionate

release and ordered the government’s response due by August 11, 2020. Id. On or

about August 11, 2020, the government filed a motion to extend the government’s

deadline to respond to defendant’s motion as, per the Bureau of Prisons, the

defendant was expected to be transferred to home confinement. R. 489. This Court

granted the government’s motion and held that the government’s response was due

August 24, 2020. R. 490. On or about August 20, 2020, the government learned that

BOP is no longer planning to transfer the defendant to home confinement.

      B.     The BOP’s Response to COVID-19

      As reported on the BOP’s website, in January 2020, the BOP began a course of

action to respond to the spread of COVID-19.1 Phase One of this course of action

included the creation of an agency task force working in conjunction with subject

matter experts from the Center for Disease Control and Prevention (“CDC”) and the

World Health Organization to review guidance about best practices to mitigate

transmission. Id. On March 13, 2020, as part of Phase Two of the course of action, the

BOP began implementing various measures to mitigate the spread of the virus. These

measures included suspending social visits, in-person legal visits, all inmate

movement, and staff travel. The BOP also began implementing procedures to

quarantine and screen inmates and staff for the virus, which included screening all

newly arriving inmates for exposure risk factors and symptoms, quarantining


1 Federal Bureau of Prisons COVID-19 Action Plan, March 13, 2020,
https://www.bop.gov/resources/news/20200313_covid-19.jsp (last visited Aug. 23, 2020).
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asymptomatic inmates with exposure risk factors, and isolating and testing

symptomatic inmates with exposure risk factors. Id.

      Subsequent phases of the BOP’s response included the authorization of inmate

movement in order to avoid overcrowding at BOP facilities. However, such

movements were limited to inmates who had been in custody for more than fourteen

days and who had been subjected to exit screening to ensure that the prisoner had no

COVID-19 symptoms (fever, cough, shortness of breath) and a temperature less than

100.4 F.2 Subsequent phases of the course of action included the quarantine and

isolation of all new inmates with asymptomatic inmates being quarantined for

fourteen days and symptomatic inmates being isolated until testing negative for

COVID-19, modifying operations to maximize social distancing, the maximization of

telework for staff members, and conducting inventory reviews of all cleaning and

medical supplies to ensure ample supplies were on hand and ready to be distributed

as necessary at BOP facilities.3

      On April 1, 2020, as part of Phase 5 of its COVID-19 action plan, the BOP

secured all inmates to their assigned cells or quarters to decrease the spread of the




2     Updates    to     BOP     COVID-19      Action   Plan,    March       19,    2020,
https://www.bop.gov/resources/news/20200319_covid19_update.jsp (last visited Aug. 23,
2020).
3     Bureau    of    Prisons    Update     on     COVID-19,     March      24,    2020,
https://www.bop.gov/resources/news/pdfs/20200324_bop_press_release_covid19_update.pdf
(last visited Aug. 23, 2020); COVID-19 Action Plan: Phase Five, March 31 2020,
https://www.bop.gov/resources/news/20200331_covid19_action_plan_5.jsp (last visited Aug.
23, 2020).
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virus.4 On April 13, 2020, as part of Phase 6 of its COVID-19 action plan, the BOP

continued to secure all inmates to their assigned cells or quarters to decrease the

spread of the virus.5 Thereafter, on May 18, 2020, the BOP extended the

implementation of Phase 7 of its COVID-19 plan until June 30, 2020.6 Phase 7

extends all measures from Phase 6, including measures to contain movement and

decrease the spread of the virus. Further details and updates of BOP’s modified

operations are available on the BOP website at a regularly updated resource page:

www.bop.gov/coronavirus/index.jsp.

      Defendant is currently incarcerated at FCI-Milan, which is a low security

federal correctional institution located in Milan, Michigan. White is projected to be

released from the Bureau of Prisons on or about June 12, 2029. See Bureau of Prisons,

Inmate Locator, https://www.bop.gov/inmateloc/.

      As of August 23, 2020, the Bureau of Prisons reported that there was one active

COVID-19 case among inmates and one active COVID-19 cases among staff at FCI-

Milan.      See     Bureau        of     Prisons,      COVID-19,       available      at

https://www.bop.gov/coronavirus/ (last visited August 23, 2020).




4      COVID-19         Action   Plan:     Phase     Five,     March      31,      2020,
https://www.bop.gov/resources/news/20200331_covid19_action_plan_5.jsp (last visited Aug.
23, 2020).
5       COVID-19        Action    Plan:     Phase     Six,     April      13,      2020,
https://www.bop.gov/resources/news/pdfs/20200414_press_release_action_plan_6.pdf    (last
visited Aug. 23, 2020).
6 Bureau of Prisons COVID-19 Action Plan: Phase Seven, May 20 2020,
https://www.bop.gov/resources/news/20200520_covid-19_phase_seven.jsp (last visited Aug.
23, 2020).
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II.   ARGUMENT

      Defendant’s motion should be denied. He has failed to exhaust his

administrative remedies before seeking relief from this court. Even if he had complied

with that statutory requirement, he would be ineligible for relief because he poses a

danger to the community and has not established that the requested sentence

reduction would be consistent with the relevant sentencing factors set forth in 18

U.S.C. § 3553(a).

      A.     Legal Standard

      As amended by Section 603(b) of the First Step Act of 2018, Pub. L. 115-391,

Title 18, United States Code, Section 3582(c)(1)(A) provides:

             [T]he court, upon motion of the Director of the Bureau of
             Prisons, or upon motion of the defendant after the
             defendant has fully exhausted all administrative rights to
             appeal a failure of the Bureau of Prisons to bring a motion
             on the defendant’s behalf or the lapse of 30 days from the
             receipt of such a request by the warden of the defendant’s
             facility, whichever is earlier, may reduce the term of
             imprisonment (and may impose a term of probation or
             supervised release with or without conditions that does not
             exceed the unserved portion of the original term of
             imprisonment), after considering the factors set forth in
             section 3553(a) to the extent that they are applicable, if it
             finds that—

                   (i) extraordinary and compelling reasons warrant
             such a reduction; or

                    (ii) the defendant is at least 70 years of age, has
             served at least 30 years in prison, pursuant to a sentence
             imposed under section 3559(c), for the offense or offenses
             for which the defendant is currently imprisoned, and a
             determination has been made by the Direct of the Bureau
             of Prisons that the defendant is not a danger to the safety
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               of any other person or the community, as provided under
               section 3142(g); and that such a reduction is consistent
               with applicable policy statements issued by the Sentencing
               Commission.

       Under the statute, a sentence reduction must be consistent with applicable

policy statements issued by the Sentencing Commission. 18 U.S.C. § 3582(c)(1)(A). In

addition to finding “extraordinary and compelling” reasons for the reduction, the

court must also find that “[t]he defendant is not a danger to the safety of any other

person or to the community, as provided in 18 U.S.C. § 3142(g)” per Guidelines

§ 1B1.13(2). Finally, the court must consider the relevant 18 U.S.C. § 3553 sentencing

factors. Id.

       Congress directed that the Sentencing Commission issue policy statements

defining the “extraordinary and compelling reasons” that might warrant a sentence

reduction under § 3582(c)(1)(A)(i). See 28 U.S.C. § 994(t) (“The Commission, in

promulgating general policy statements regarding the sentencing modification

provisions in section 3582(c)(1)(A) of title 18, shall describe what should be considered

extraordinary and compelling reasons for sentence reduction, including the criteria

to be applied and a list of specific examples. Rehabilitation of the defendant alone

shall not be considered an extraordinary and compelling reason.”). Pursuant to this

directive, the Sentencing Guidelines Manual sets forth the Commission’s policy

statement relating to § 3582(c). Guidelines § 1B1.13 provides that under

§ 3582(c)(1)(A), a court may reduce a term of imprisonment, after considering the

Section 3553(a) factors, if three criteria are satisfied: (1) “extraordinary and

compelling reasons warrant the reduction”; (2) “the defendant is not a danger to the

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safety of any other person or to the community”; and (3) “the reduction is consistent

with this policy statement.” Accordingly, in order to obtain relief under §

3582(c)(1)(A)(i), defendant must show that (1) he has requested relief from the

Bureau of Prisons and exhausted any administrative appeals in that process; (2)

there exist extraordinary and compelling reasons that warrant a sentence reduction;

(3) the requested reduction is consistent with the policy statements issued by the

sentencing commission in Guideline § 1B1.13, including the requirement that “the

defendant is not a danger to the safety of any other person or to the community”; and

(4) the reduction is warranted in light of the factors listed in 18 U.S.C. § 3553.

      B.     Defendant Has Not Exhausted His Administrative Remedies.

             1.     The Administrative Process

      The Bureau of Prisons has established an orderly process for review of requests

for reductions of sentence and compassionate release:

             A request for a motion under 18 U.S.C. 4205(g) or
             3582(c)(1)(A) shall be submitted to the Warden. Ordinarily,
             the request shall be in writing, and submitted by the
             inmate. An inmate may initiate a request for consideration
             under 18 U.S.C. 4205(g) or 3582(c)(1)(A) only when there
             are particularly extraordinary or compelling circumstances
             which could not reasonably have been foreseen by the court
             at the time of sentencing. The inmate’s request shall at a
             minimum contain the following information:

                    (1) The extraordinary or compelling circumstances
             that the inmate believes warrant consideration.

                    (2) Proposed release plans, including where the
             inmate will reside, how the inmate will support
             himself/herself, and, if the basis for the request involves
             the inmate's health, information on where the inmate will
             receive medical treatment, and how the inmate will pay for
             such treatment.

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28 C.F.R. § 571.61(a). The Bureau of Prisons “processes a request made by another

person on behalf of an inmate [for example, defendant’s counsel] in the same manner

as an inmate’s request.” Id. § 571.61(b).

      The Bureau of Prisons’ regulations also establish procedures for the

consideration and administrative review of compassionate release requests involving

the Warden, General Counsel, and Director of the Bureau of Prisons. 28 C.F.R.

§ 571.62(a). If a request for compassionate release is denied at any level of the Bureau

of Prisons’ internal review process, the inmate is entitled to “written notice and a

statement of reasons for the denial.” 28 C.F.R. § 571.63(a). When an inmate’s request

is denied by the Warden, the “inmate may appeal the denial through the

Administrative Remedy Procedure (28 CFR part 542, subpart B).” Id.

      Consistent with the statutory exhaustion requirement, the Bureau of Prisons’

program statement on compassionate release requests states that “an inmate may

file a request for a reduction in sentence with the sentencing court after receiving a

BP-11 response [from the Warden] under subparagraph (a), the denial from the

General Counsel under subparagraph (d), or the lapse of 30 days from the receipt of

such a request by the Warden of the inmate’s facility, whichever is earlier.” See

Bureau of Prisons Program Statement No. 5050.50 (rev. Jan. 17, 2019), available at

https://www.bop.gov/policy/progstat/5050_050_EN.pdf (last visited July 10, 2020).

The Bureau of Prisons’ regulations make clear that “[i]n the event the basis of the

request is the medical condition of the inmate, staff shall expedite the request at all

levels.” 28 C.F.R. § 571.62(c).

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        The Bureau of Prisons’ receipt and consideration of compassionate release

requests occurs against the backdrop of an annual reporting requirement to

Congress. 18 U.S.C. § 3582(d)(3). By requiring the Bureau of Prisons to submit

annual reports about its handling of compassionate release requests, Congress

demonstrated that it clearly understood the importance of requiring inmates to

submit requests through established Bureau of Prisons channels and intended that

procedure to be followed.

                2.   Defendant Has Not Complied               with   the    Statutory
                     Exhaustion Requirement.

        Title 18, United States Code, Section 3582(c)(1)(A) provides that the court may

reduce a defendant’s term of imprisonment “upon motion of the defendant after the

defendant has fully exhausted all administrative rights to appeal a failure of the

Bureau of Prisons to bring a motion on the defendant’s behalf or the lapse of 30 days

from the receipt of such a request by the warden of the defendant’s facility, whichever

is earlier. . . .”

        Defendant asserts that he filed “his administrative remedy on or about May

24, 2020.” R. 485. Defendant has not, however, provided a copy of his request or any

other evidence of his having made one, and, according to Bureau of Prisons officials,

they no record of a request from defendant for a sentence reduction or for

compassionate release could be found. Accordingly, defendant has not met his burden

of establishing that she exhausted all administrative rights available to her, as

required by the statute. See United States v. Gold, 2020 WL 2197839, at *2 (N.D. Ill.




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May 6, 2020) (Bucklo, J.) (stating that, as the movant, defendant bears the burden to

establish that he or she is eligible for a sentence reduction).

             3.     The Statutory Exhaustion Requirement is Mandatory and
                    Cannot Be Waived by Courts.

      When Congress enacted Section 603 of the First Step Act, it included an

exhaustion requirement to ensure that Bureau of Prisons officials would have the

first opportunity to review and consider a defendant’s request for a sentence

reduction or compassionate release. Congress demonstrated its intent that the

Bureau of Prisons be given a minimum of 30 days to review an inmate’s request before

the issue is brought to court, by permitting inmates to pursue relief from the court

only after the completion of the administrative appeal process or, at a minimum, 30

days after the warden’s receipt of the inmate’s administrative request.            The

requirement serves the important function of permitting the initial review of the

defendant’s request to be conducted by BOP officials, who are in the best position to

assess the propriety and feasibility of defendant’s release.

      The statutory exhaustion requirement for compassionate release motions is

mandatory, and cannot be waived by courts. See United States v. Taylor, 778 F.3d

667, 670 (7th Cir. 2015) (holding § 3582(c)(2)’s criteria, while not jurisdictional, are

mandatory); McCarthy v. Madigan, 503 U.S. 140, 144 (1992) (“[w]here Congress

specifically mandates, exhaustion is required”); Ross v. Blake, 136 S. Ct. 1850, 1855

(2016) (rejecting as “freewheeling” lower court’s creation of “special circumstances”

exception to statutory exhaustion requirement and permitting only the exception

expressly defined by statute).

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      Consistent with Supreme Court precedent and this Court’s rulings in other

cases, since the COVID-19 outbreak, no court of appeals has found § 3582(c)(1)’s

exhaustion requirement to be waivable, and the vast majority of courts have found

that the requirement cannot be waived. See United States v. Allegra, No. 15 CR 243,

Dkt. No. 232 (N.D. Ill. Apr. 13, 2020); United States v. Beck, No. 11 CR 640 (N.D. Ill.

June 1, 2020); United States v. Lohmeier, No. 12 CR 1005, 2020 WL 2836817, at *4

(N.D. Ill. June 1, 2020); United States v. Manning, No. 15 CR 50007 (N.D. Ill. Apr. 7,

2020); United States v. Carter, No. 18 CR 86-JMS-DML, 2020 WL 1808288, at *1 (S.D.

Ind. Apr. 9, 2020); United States v. Fevold, No. 19 CR 150, 2020 WL 1703846, at *1

(E.D. Wis. Apr. 8, 2020) (denying compassionate release to FCI-Elkton prisoner

because he failed to exhaust administrative remedies); United States v. Albertson, No.

16 CR 250-TWP-MJD, 2020 WL 1815853 (S.D. Ind. Apr. 8, 2020); United States v.

Brown, No. 17 CR 111, 2020 WL 1703859 (E.D. Wis. Apr. 8, 2020); United States v.

Moskop, No. 11 CR 30077, 2020 WL 1862636 (S.D. Il. Apr. 14, 2020).

      Even if waiver were permitted, it would be inappropriate in this case. In light

of the Attorney General’s directives to BOP and BOP’s corresponding actions, this is

not a time when defendant’s pursuit of administrative remedies within BOP could be

deemed futile from an ex ante perspective, or otherwise provide a basis for waiving

§ 3582(c)(1)(A)’s exhaustion requirement. Here, defendant has given the BOP no

opportunity whatever to consider his request for compassionate release. Nor is this a

case where exhaustion should be excused because BOP’s administrative process is

incapable of timely granting defendant the relief he seeks. Pursuant to the statutory


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framework that Congress has devised, BOP must be given the opportunity to make a

decision concerning defendant’s request prior to any intervention by the Court.

      C.      “Extraordinary and Compelling” Reasons for a Sentence
              Reduction

      Defendant seeks release pursuant to § 3582(c)(1)(A), which allows for release

where, “after considering the factors set forth in section 3553(a)…extraordinary and

compelling reasons warrant such a reduction…and that such a reduction is consistent

with applicable policy statements issued by the Sentencing Commission.” 18 U.S.C.

§ 3582(c)(1)(A). Defendant has failed to satisfy this standard.

      Application Note 1 to Guideline § 1B1.13 identifies factors that may constitute

“extraordinary and compelling reasons” for a sentence reduction. With respect to

applicable policy statements, before the passage of the First Step Act, the Sentencing

Commission concluded that “extraordinary and compelling reasons” were limited to

the following four scenarios:

           1. The defendant suffered from a “terminal illness” or his physical or
              mental condition “substantially diminishes the ability of the defendant
              to provide self-care within the environment of a correctional facility and
              from which he or she is not expected to recover.” USSG § 1B1.13 cmt.
              n.1(A).

           2. The defendant was at least 65 years old, experiencing a serious
              deterioration in physical or mental health because of the aging process,
              and served the lesser of 10 years or 75% of his sentence. Id. § 1B1.13
              cmt. n.1(B).

           3. The defendant’s family circumstances include either the death or
              incapacitation of the caregiver of the defendant’s minor child or minor
              children or the incapacitation of the defendant’s spouse or registered
              partner when the defendant would be the only available caregiver for
              the spouse or registered partner. Id. § 1B1.13 cmt. n.1(C).



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          4. If there were “an extraordinary and compelling reason other than, or in
             combination with, the reasons described in subdivisions (A) through
             (C).” Id. § 1B1.13 cmt. n.1(D).

      Thus, the changes to 18 U.S.C. § 3582(C)(1)(A) made by the First Step Act

altered the procedure through which compassionate release could be sought—by

allowing defendants to bring their requests to court after exhausting their

administrative remedies—but it did not alter the grounds for granting relief.

      In his motion, defendant argues that the COVID-19 pandemic constitutes an

extraordinary and compelling reason warranting his release because his 71 year-old

father, who is in a mental facility, suffers from mental health disorders and defendant

is his father’s only relative and potential caregiver. R. 485 at 3. Defendant’s desire

to care for his father, who is being cared for in a mental health facility, is not an

extraordinary circumstance as outlined above.

      Although defendant has not specifically raised the issue of obesity, the

government points out that defendant’s medical records reflect that, as of December

2, 2019, defendant qualified as obese, as that term is defined in the CDC’s current

guidance. According to the medical records, on March 11, 2020, defendant had a body

mass index (BMI) of 34.8. The CDC’s most recent guidelines identify obesity (defined

as having a BMI of 30 or over) as a factor increasing the risk of serious illness from

COVID-19.7 Assuming that defendant’s weight has remained the same since March

2020, defendant could show, in light of the COVID-19 pandemic, that he has “a




7 https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-
conditions.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-
ncov%2Fneed-extra-precautions%2Fgroups-at-higher-risk.html
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serious physical or medical condition . . . that substantially diminishes the ability of

the defendant to provide self-care within the environment of a correctional facility

and from which he or she is not expected to recover,” Guidelines § 1B1.13 cmt.

n.1(A)(ii)(I), in that defendant’s obesity substantially diminishes his ability to provide

self-care against serious injury or death as a result of COVID-19 within the

environment of a correctional facility. Defendant therefore can establish an

extraordinary and compelling reason for release.

   III.   THE § 3553(A) FACTORS MILITATE AGAINST RELEASE.

      This showing, however, does not in itself entitle defendant to relief under 18

U.S.C. § 3582(c)(1). Pursuant to the statute and the applicable policy statement, the

Court must also consider whether defendant poses a danger to others and the

community, and whether the requested relief would be consistent with the sentencing

factors set forth in § 3553(a) factors, including defendant’s history and

characteristics, the risk of recidivism he poses, the time remaining to be served on

his sentence, the quality of his release plan, and the impact of BOP’s efforts to

maintain the safety of inmates. In this case, these factors do not weigh in favor of a

sentence reduction or release.

      Defendant remains an economic danger to the community. Defendant’s offense

conduct was serious. At sentencing, the government and court found, based on a

conservative estimate, the loss caused by the defendant was approximately

$9,186,727. Defendant caused millions of dollars in losses to victims. Defendant

preyed on unquestionably vulnerable victims. The district court found that multiple


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homeowners were facing foreclosure at the time they entered into defendant’s

EHNS’s program. And the court noted that “victim after victim took the stand and

testified relating to how desperate they were and how the defendant … took

advantage of these individuals with the false promise of saving their houses when he,

in fact, knew that at the end their houses will not be salvaged.”

      At the time of his sentencing in this case, the court specifically found the need

for a sentence that promoted White’s respect for the law; and the court found a risk

of recidivism and the need for specific, as well as general, deterrence in White’s

particular case. The district court found that, although this was White’s first serious

conviction, White had previously committed several crimes, including theft and

making false statements on a credit card application. The court also highlighted

White’s failure to acknowledge his wrongdoing and reasoned that a significant

sentence was necessary to promote White’s respect for the law. In light of these

factors, the sentencing court found that a sentence of 266 months’ imprisonment was

sufficient but not greater than necessary to achieve the statutory purposes of

sentencing.

      Finally, release is inconsistent with the remaining sentencing factors set forth

in 18 U.S.C. § 3553(a). Under § 3553(a), this Court must consider the need for a

sentence to reflect the seriousness of the offense, to provide just punishment for the

offense, and to promote respect for the law. Additionally, under § 3553(a), the

sentence must be consistent with the nature and circumstances of the offense and the

history and characteristics of the defendant. All of these factors weigh against


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release. Releasing defendant at this time would deprecate the seriousness of his

offense conduct and undermine the sentence’s specific and deterrent value. It is

important that defendant complete his sentence in order to reflect the seriousness of

the offense, promote respect for the law, provide a just punishment for the offense,

afford adequate deterrence, and protect the public.

      A.     Request for Home Confinement Should this Court Release
             Defendant.

      This Court lacks the authority to order the BOP to transfer defendant to home

confinement. See 18 U.S.C. § 3624 (directing the Director of the BOP to consider

placing an inmate in home confinement). However, this Court may, in addition to

reducing defendant’s sentence, “impose a term of probation or supervised release,

with or without conditions, that does not exceed the unserved portion of the original

term of imprisonment.” The conditions the Court may order include home

confinement. See 18 U.S.C. §§ 3582(c)(1), 3563(b)(19), and 3583(d). If this Court were

to find that defendant had satisfied all the statutory requirements for a sentence

reduction, the government would request any reduction ordered by the court be

accompanied by an order imposing a new term of probation or supervised release with

a condition of strict home confinement, for the entire period of the that remains to be

served.




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IV.   CONCLUSION

      For the reasons set forth above, defendant’s motion for early release should be

denied.

                                      Respectfully submitted,

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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                           WESTERN DIVISION

UNITED STATES OF AMERICA               )
                                       )        No. 06 CR 763
       v.                              )
                                       )        Judge Edmond E. Chang
CHARLES WHITE                          )

                          CERTIFICATE OF SERVICE

      The undersigned Assistant United States Attorney hereby certifies that in
accordance with Fed.R.Crim.P. 49, Fed.R.Civ.P. 5, LR 5.5, and the General Order on
Electronic Case Filing (ECF), the following document:

      GOVERNMENT’S RESPONSE TO DEFENDANT’S MOTION FOR
                  COMPASSIONATE RELEASE

was served pursuant to the district court’s ECF system. as to ECF filers, if any, and
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                                                Respectfully submitted,

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   Dated:    August 24, 2020




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